[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION ON MOTION TO DISMISS
This is an action arising out of a contract between the plaintiff Aetna Ambulance and Ambassador Wheelchair Service, Inc. on one hand and Katherine Topa and two other members of the Topa family on the other hand. A separate action arising out of the same contract was instituted in this court by Aetna Ambulance, Inc. against the Topas (Docket No. CV96-0511641).
Defendants have moved separately to dismiss each action claiming that the court has no jurisdiction since the two plaintiffs constitute a "joint venture" and neither individual plaintiff has standing to assert claims against the Topas which could only be asserted by the "joint venture."
Neither plaintiff has used the term joint venture in describing their relationship. Even if the plaintiffs constitute a joint venture, their relations and obligations are generally governed by the principles of common-law partnership. Travis v.St. John, 176 Conn. 69 (1978). Such a common law partnership has been held not to have sufficient independent status or capacity to institute suit. Jonnycake Mountain Associates v. Holby, Superior Court judicial district of Hartford-New Britain at Hartford (14 Conn. L. Rptr. No. 12, 380, August 7, 1995; Wagner J.).
Furthermore, on September 16, 1996, the two cases were consolidated so that the two separate plaintiffs are now joined in one action.
Motion to Dismiss is denied.
Jerry Wagner Trial Judge Referee CT Page 10099